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uNlTED sTATEs oF AMERICA C'-E§§DL¢'~S WT§;MM
Plaintiff
vs.
cR. No. 04-20314-0
NANcY wil_l_ls
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAV
AND SE`ITlNG

 

This cause came on for motion hearing on June 17, 2005. At that time, counsel for
the defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to the second week of the
August rotation calendar (August 8, 2005 at 9:00 a.m.) No further report date is
required.

The period from Ju|y 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

lT is so oRDEREo this /§f day of July, 2005.

 

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with Fiu|e 55 and/or 32{b) FRCrP on

       
 

UNITED TEATS DISTRIC COURT - \)VEERNST D"RITICT 0 TENNESSEE

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Honorable Bernice Donald
US DISTRICT COURT

